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                          IN THE UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                     )
     In re:                                                          ) Chapter 11
                                                                     )
     MCDERMOTT INTERNATIONAL, INC., et al.,1                         ) Case No. 20-30336 (DRJ)
                                                                     )
                              Debtors.                               ) (Jointly Administered)
                                                                     )

                AFFIDAVIT OF CHRISTOPHER T. GRECO
            IN SUPPORT OF DEBTORS’ EMERGENCY MOTION
     FOR MICHAEL VAN DEELEN TO APPEAR AND SHOW CAUSE WHY HE
   SHOULD NOT BE HELD IN CONTEMPT OF COURT AND PROHIBITED FROM
FURTHER CONTACT WITH THE DEBTORS, THEIR OFFICERS, OR THEIR COUNSEL

              I, Christopher T. Greco, hereby declare under penalty of perjury:

              1.     I am over the age of 18 and competent to testify.                    I am the president of

 Christopher T. Greco, P.C., a partner of the law firm of Kirkland & Ellis LLP, located at 601

 Lexington Avenue, New York, New York 10022, and a partner of Kirkland & Ellis International,

 LLP (together with Kirkland & Ellis LLP, collectively, “Kirkland”). Along with my partner,

 Joshua A. Sussberg, I am one of the lead attorneys from Kirkland working on the above-captioned

 chapter 11 cases. I am a member in good standing of the Bar of the State of New York, and I have

 been admitted to practice in the Southern District of New York. There are no disciplinary

 proceedings pending against me.

              2.     I submit this Affidavit (the “Affidavit”) in support of the Debtors’ Emergency

 Motion for Michael Van Deelen to Appear and Show Cause Why He Should Not Be Held in




 1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
       proposed claims and noticing agent at https://cases.primeclerk.com/McDermott. The location of Debtor
       McDermott International, Inc.’s principal place of business and the Debtors’ service address in these chapter 11
       cases is 757 North Eldridge Parkway, Houston, Texas 77079.
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Contempt of Court and Prohibited From Further Contact with the Debtors, their Officers, or their

Counsel (the “Motion”).2 Except as otherwise noted, I have personal knowledge of the matters set

forth herein.

        3.       I am authorized to submit this affidavit, and, if I were called upon to testify, I could

and would testify competently to the facts set forth herein.

                                    Interactions with Mr. Van Deelen

        4.       On March 12, 2020, the Court conducted a hearing on confirmation of the Debtors’

plan of reorganization (the “March 12th Hearing”). During the March 12th Hearing, I was seated

at counsel’s table next to Mr. Sussberg and also witnessed the events described in Mr. Sussberg’s

affidavit. I also was involved in the preparation of the Motion.

        5.       I have reviewed Mr. Van Deelen’s responsive pleading [Docket No. 701] (the “Van

Deelen Response”). Because the comments discussed in the Motion were made directly to

Mr. Sussberg or on the record, I believed that Mr. Sussberg’s affidavit would be sufficient. In

light of the Van Deelen Response, I now submit this Affidavit to corroborate Mr. Sussberg’s

statements and characterization of Mr. Van Deelen’s demeanor.

        6.       I witnessed the sidebar conversation between Mr. Sussberg and Mr. Van Deelen

during the March 12th Hearing.            Mr. Van Deelen told Mr. Sussberg to “suck [his] dick.”

Mr. Sussberg concluded the conversation by replying, “You are disgusting.”

        7.       I also heard Mr. Van Deelen refer to the Court as a “son of a bitch” during the

March 12th Hearing.

        8.       After the conclusion of the March 12th Hearing, I also visited the restroom when I

overheard an exchange between Mr. Van Deelen and Mr. Sussberg, who were standing outside the


2   Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Motion.
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restroom. Mr. Van Deelen first asked for Mr. Sussberg’s name. I heard Mr. Sussberg respond to

Mr. Van Deelen that it “didn’t matter” what his name was.          Mr. Van Deelen then called

Mr. Sussberg a “pasty white fuck” and said “I’ll have my way with your wife.”

       9.      Accordingly, I support the relief sought in the Motion.

       Pursuant to 28 U.S.C. § 1746, I declare under the penalty of perjury that the foregoing is

true and correct to the best of my knowledge, information, and belief.


 Dated: March 18, 2020                            /s/ Christopher T. Greco
                                                  Christopher T. Greco
                                                  as President of Christopher T. Greco, P.C., as
                                                  Partner of Kirkland & Ellis LLP; and as
                                                  Partner of Kirkland & Ellis International LLP
